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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


REPUBLICAN NATIONAL COMMITTEE,

               Plaintiff,

       v.                                            Civil Action No. 22-659 (TJK)

NANCY PELOSI et al.,

               Defendants.


                                            ORDER

       For the reasons set forth in the Court’s accompanying Memorandum Opinion, it is hereby

ORDERED that the RNC’s claims against House Defendants are DISMISSED, Count VI of the

RNC’s amended complaint is DISMISSED AS MOOT, and judgment is ENTERED against the

RNC on Counts I through V of its amended complaint.

       It is also hereby ORDERED that House Defendants are temporarily ENJOINED from

enforcing the subpoena and Salesforce is temporarily ENJOINED from complying with the sub-

poena, for the purpose of allowing the RNC to seek an injunction pending appeal. It is further

ORDERED that this administrative injunction will dissolve automatically either on May 5, 2022,

if the RNC has not moved for an injunction pending appeal by then, or upon the resolution of any

such motion.

       This is a final, appealable Order. The Clerk of the Court is directed to close the case.

       SO ORDERED.

                                                             /s/ Timothy J. Kelly
                                                             TIMOTHY J. KELLY
                                                             United States District Judge
Date: May 1, 2022
